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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division


 LEAGUE OF UNITED LATIN AMERICAN  )
 CITIZENS-RICHMOND REGION COUNCIL )
 4614 ETAL,                       )
                                  )
               Plaintiff,         )                             Civil No. l:18-cv-00423
            V.
                                  )
                                  )                             Hon. Liam O'Grady
 PUBLIC INTEREST LEGAL FOUNDATION                       )
  ETAL,                                                 )
                                                        )
                          Defendant.                    )
                                                        )

                             MEMORANDUM OPINION & ORDER


        Currently before the Court is Defendants' Motion to Dismiss(Dkt. 30; 31). The Court has

considered the evidence and the pleadings and heard the parties' oral arguments on June 22,

2018. Dkt. 61. The Court finds good cause to DENY the motion.

  I.    Background

        On April 12,2018,Plaintiff League of United Latin American Citizens("LULAC")and

four other individually named Plaintiffs ("Bonilla,""Freeman,""Gearhart," and "Rosen")filed

suit against Defendants Public Interest Legal Foundation ("PILF")and J. Christian Adams.

Compl.      12-18. Plaintiffs allege that in September 2016, Defendants, in conjunction with non-

party Virginia Voters Alliance, published a written report titled Alien Invasion /to national

media which accused Virginia voters of"committing multiple, separate felonies, from illegally

registering to vote to casting an ineligible ballot." Id. at   24-25, 31. Specifically, Plaintiffs

allege that Defendants obtained from Virginia county registrars several lists of"[Virginia voter]

registrants who had been purged from the voter rolls." Id. at       27,46. Plaintiffs assert that



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